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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                       JS-6
                             CIVIL MINUTES—GENERAL

  Case No. CV 23-6433-MWF (RAOx)                             Date: September 19, 2023
  Title: Korie Schmidt v. Scott Day, et al.
  Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

            Deputy Clerk:                            Court Reporter:
            Rita Sanchez                             Not Reported

            Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
            None Present                             None Present

  Proceedings (In Chambers): ORDER GRANTING DEFENDANTS’ MOTION TO
                             DISMISS FOR INSUFFICIENT SERVICE OF
                             PROCESS AND LACK OF PERSONAL
                             JURISDICTION [11]; ENTRY OF JUDGMENT

       Pro se Plaintiff Korie Schmidt has sued Defendants Scott Day and
  Digimedia.com, L.P. for trademark infringement. (Notice of Removal (“NOR”)
  (Docket No. 1), Ex. A, at 6-7). Now before the Court is Defendant’s Motion to
  Dismiss for Insufficient Service of Process and Lack of Personal Jurisdiction (the
  “Motion”) filed on August 21, 2023. (Docket No. 11). Plaintiff did not file an
  Opposition.

        The Motion was noticed to be heard on September 18, 2023. The Court read
  and considered the papers on the Motion and deemed the matter appropriate for
  decision without oral argument. See Fed. R. Civ. P. 78(b); Local Rule 7-15. The
  hearing was therefore VACATED and removed from the Court’s calendar.

         The Motion is GRANTED. Plaintiff’s failure to file an Opposition is a
  sufficient reason to grant the Motion. See Local Rule 7-12 (“The failure to file any
  required document, or the failure to file it within the deadline, may be deemed consent
  to the granting or denial of the motion.”); Ewing v. Ruano, No. 09-8471, 2012 WL
  2138159, at *1 (C.D. Cal. June 12, 2012) (“As noted, Plaintiff failed to oppose the
  defendants’ motion to dismiss by the deadline established in the Local Rules.
  Accordingly, pursuant to Local Rule 7-12, the Court finds good cause for granting the
  defendants’ unopposed motion to dismiss.”). Because Defendants request judicial
  ______________________________________________________________________________
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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES—GENERAL

  Case No. CV 23-6433-MWF (RAOx)                              Date: September 19, 2023
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  notice of facts not subject to reasonable dispute (Docket No. 12), Defendants’ Request
  for Judicial Notice is also GRANTED.

        Based on the Motion and a review of the Complaint and other documents, the
  Motion is also granted on the merits. The peculiar nature of the Proof of Service
  (Declaration of Michael Long, Ex. D) is such that it fails to establish that proper
  service occurred here. Fed. R. Civ. P. 12(b)(5). More important, Plaintiff has failed to
  demonstrate that specific personal jurisdiction exists over Defendants. Fed. R. Civ. P.
  12(b)(2).

        Accordingly, the Motion is GRANTED, and the action is DISMISSED without
  prejudice.

        IT IS SO ORDERED.

          This Order shall constitute notice of entry of judgment pursuant to Federal Rule
  of Civil Procedure 58. Pursuant to Local Rule 58-6, the Court ORDERS the Clerk to
  treat this Order, and its entry on the docket, as an entry of judgment.

        The Court notes that Plaintiff does not have a lawyer. Parties in court without a
  lawyer are called “pro se litigants.” These parties often face special challenges in
  federal court. Public Counsel runs a free Federal Pro Se Clinic where pro se litigants
  can get information and guidance. The Clinic is located at the Roybal Federal Building
  and Courthouse, 255 East Temple Street, Los Angeles, CA 90012 (note that the clinic
  may not be open for in-person appointments during the pandemic). Pro se litigants
  must call or submit an on-line application to request services as follows: on-line
  applications can be submitted at http://prose.cacd.uscourts.gov/los-angeles, or call
  (213) 385-2977, ext. 270.




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